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AFFIDAVIT IN SUPPORT OF AN

APPLICATION FOR AN ARREST WARRANT

I, Thomas J. Zukauskas, do hereby depose and state as
follows:

l. l am a Special Agent of the Federal Bureau of
lnvestigation (“FBI”) and have been so employed for twelve
years. l am currently assigned to the Boston Division of the FBI
in Boston, Massachusetts. More specifically, l am assigned to
the Boston FBI Violent Crimes Task Force (“VCTF”), which
comprises personnel of the FBI, Massachusetts State Police, and
the Boston, Malden, Saugus, Dedham, and Somerville Police
Departments.

2. As a Special Agent with the VCTF, l have investigated
numerous violent crimes, including but not limited to cases
involving armed robberies, kidnapping, bank robberies, and
sexual assaults. l have also received specialized training
regarding investigative techniques, evidence collection, and
evidence preservation. Throughout my employment with the FBI, l
have participated in investigations involving the execution of
arrest warrants.

3. Having so said, I make this affidavit in support of a

criminal complaint charging Louis D. Coleman, III (“Coleman”)

 

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DOB XX/XX/1986, with kidnapping, resulting in death, in
violation of 18 U.S.C. § lZOl(a)(l).

4. The facts stated herein are based on my own personal
knowledge and on photographs and video that l have personally
viewed, as well as information provided to me by other law
enforcement personnel involved in the investigation. ln
submitting this affidavit, however, l have not included each and
every fact known to me about this investigation, but only the
facts which l believe are sufficient to establish the requisite

probable cause.

Overview of Investigation

 

5. On Tuesday February 26, 2019, at approximately 5230
p.m., an individual, later identified as the father of Jassy
Correia (“the father”), reported to the Boston Police Department
that his daughter, Jassy Correia (“the victim”), DOB xx/xx/1996,
was missing. A friend of the victim accompanied the father.

The friend, who was with the victim on the night of February 23
through February 24, 2019, stated she and the victim had gone to
the Venu nightclub (“Venu”), located on Warrenton Street in
Boston, with some friends,`and that she had not seen the victim
since leaving the club on early Sunday morning, February 24,

20l9.

 

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6. The friend stated that the victim was wearing an orange
jumpsuit and a blue denim jacket (“the jacket”). The friend
further stated that the jacket had a picture of red lips and

wings on its back.

Video Surveillance in Boston

7. Law enforcement officials obtained video surveillance of
the sidewalk area on Tremont Street near Venu. The video shows,
among other things, that on Sunday morning, February 24, 2019,
the victim was on the sidewalk at approximately 2:14 a.m. and
interacted with several people. The video shows that, at
approximately 2:16 a.m., a male approached the victim and
interacted with her. The video shows that, shortly afterwards,
the male and the victim left the area walking together.
Additional surveillance video show that the male and the victim
proceeded to and then entered a red sedan (“the red sedan”).

The red sedan then left the area.

8. Investigation revealed that, earlier in the night,
Coleman entered Venu and produced a Rhode lsland driver’s
license, which security personnel at Venu scanned. Coleman’s
driver’s license reflected Coleman’s address as 95 Chestnut
Street, Providence, Rhode island. Law enforcement and l have

compared the image from Coleman’s driver’s license with the

 

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aforementioned video surveillance and determined that the male

who walked away with the victim was Coleman.

Video Surveillance at 95 Chestnut Street,

Providence, Rhode Island

 

9. Law enforcement learned that Coleman rented apartment
602 of 95 Chestnut Street, Providence, Rhode lsland, which is on
the sixth floor of the building. Law enforcement obtained video
surveillance footage from the building’s parking lot, the lobby,

and the sixth floor hallway.1
February 24, 2019

lO. The video surveillance footage from the early morning

of Sunday, February 24, 2019, shows that a red sedan, consistent
in appearance with the red sedan referred to in paragraph 7,
entered the building’s parking lot at approximately 4:15 a.m.
The operator of the vehicle (Coleman) parked the red sedan,
exited the red sedan, and returned to the red sedan a short time
later carrying a light-colored blanket. A short time later,
Coleman walked from the red sedan towards the front of the
building carrying a body with long hair and orange pants. Based

on my review of the surveillance footage from the apartment

 

1 Law enforcement has determined that the time-stamp on all of the
surveillance video from 95 Chestnut Street is approximately l hour ahead of
the actual time of the events depicted. The times listed in the affidavit
are the actual times.

 

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building and my review of the surveillance footage from the area
near Venu from a few hours earlier, and the close temporal
proximity of these events, and in light of my training and
experience, l believe that this footage shows Coleman carrying

the victim into his apartment building.

ll. Video footage from the building’s lobby shows that, at
approximately 4:27 a.m., Coleman entered the building carrying a
woman’s body. l am familiar with the appearance of the victim
and recognize the woman as the victim. Coleman put the victim
on the floor and dragged the victim to the building’s elevator.
The victim was naked from the waist up and was wearing orange

pants. The victim was not moving and her body was limp.

12. Video footage from the building’s sixth floor hallway
shows that, at approximately 4:29 a.m., Coleman exited the
elevator and dragged the victim in the direction of apartment

602.
February 26, 2019

13. Video surveillance shows that on Tuesday, February 26,
2019, Coleman entered 95 Chestnut Street with plastic shopping
bags consistent in appearance with Walmart shopping bags. Law
enforcement later obtained video surveillance, and a receipt

demonstrating that Coleman had purchased the following items

 

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from the Walmart in Providence, Rhode Island on February 26,
2019:

0 Three Tyvek suits;

0 Duct tape;

0 Two candles;

0 Electrical tape;

0 One mask;

0 Surgical gloves;

0 Two pairs of safety goggles;

0 An odor respirator; and
¢ CLN Release Bleach Bath.

Law enforcement additionally determined that Coleman had
been operating a red Buick sedan in the Walmart parking lot at
that time. Further investigation determined that Coleman did
not have an automobile registered in his name, but that a 2016
red Buick sedan was registered to Coleman’s mother in
California. Law enforcement determined that the California
registration plate was 7WYAXXX.2
February 27, 2019

14. Video surveillance shows that, on Wednesday, February
27, 2019, at approximately 9:58 p.m., Coleman entered 95
Chestnut Street with a large dark-colored suitcase (“the
suitcase”) with bright blue piping. The suitcase appeared to be

in new condition with sales tags affixed.

 

2 The California registration plate number is known to law enforcement.

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February 28, 2019

15. Video surveillance shows that, on Thursday, February
28, 2019, at approximately 1:15 a.m., Coleman wheeled the
suitcase from the direction of apartment 602 towards the
elevator. A few minutes later, Coleman exited the elevator and
wheeled the suitcase out of the building. Video surveillance
`from the parking lot shows, a short time, later, Coleman wheeled
the suitcase across the parking lot and placed the suitcase into
the trunk of the red sedan. Coleman appeared to have difficulty
lifting the suitcase into the trunk of the red sedan.

16. Additional video surveillance shows that, on several
occasions between approximately 2:44 a.m. and approximately 4:02
a.md, Coleman exited the building with other items including:
trash bags; cardboard boxes; a bottle of bleach; a black laptop
case; a computer tower; and a small dark~colored duffle bag.

17. Later in the day on February 28, 2019, law enforcement
officers executed a search warrant at Coleman’s apartment.
During the execution of the search warrant, law enforcement
officers recovered, among other things: a California driver’s
license in the name of Coleman; a checkbook in the name of
Coleman with a California address; two packages of hooded
coveralls; and two respirator masks. Law enforcement also
observed a light-colored sofa with four large cushions. The

cover for one of the cushions was missing.

 

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18. Additionally, law enforcement officers searched a
dumpster outside of 95 Chestnut Street and recovered a number of
items including: white trash bags; a bag containing plastic
sheets; men’s blue denim jeans with bleach stains and a belt; a
white nylon hooded coverall; an empty box of baking soda; clear
safety goggles; one respirator mask; duct tape packaging;
rubbing alcohol; Walmart bags; multiple pairs of used plastic
gloves; an empty package for an automobile air freshener; three
empty packages for purifying charcoal; and a Scotch Brite scrub
sponge.

The Stop of the Red Sedan in Delaware
February 28, 2019

19. On Thursday, February 28, 2019, members of the Delaware
State Police became aware that Coleman was the subject of a
missing person investigation of the victim. At approximately
2:45 p.md, the Delaware State Police located and stopped a red
Buick sedan with California registration 7WYAXXX on lnterstate
95 South, near Wilmington, Delaware. The operator of the red
sedan was Coleman.

20. Coleman was ordered out of the red sedan and asked by
the Delaware State Trooper if anyone else was in the sedan.
Coleman stated words to the effect, “She’s in the trunk.”

21. Law enforcement officers conducted a sweep of the

vehicle and located, within the vehicle’s trunk, a large dark~

 

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colored suitcase with blue piping. l have observed photographs
of the suitcase, and believe it to be the same suitcase
referenced in paragraphs 14 and 15. Law enforcement opened the
suitcase and observed a black plastic bag inside the suitcase.
lnside the black plastic bag was a light-colored sofa cushion
cover. lnside the cushion cover was the body of a woman who
appears to be the victim, who was deceased. The victim, who had
significant bruising and blood about her face, was bound with
gray duct tape and had a white powdery residue over her body,
believed to be baking soda.

22. A search warrant was later obtained and law
enforcement officers recovered numerous items from the red sedan

including the following:

a dark-colored duffle bag;

0 a pair of new long-handled loppers;
0 a number of plastic garbage bags;

0 multiple items of clothing;

Samsung cellphone;

red plastic gas container;

green butane lighter;

pair of black gloves;

number of charcoal air purifiers;

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number of air fresheners;

0 tinted safety glasses;

0 plastic Walmart bags;

0 work towels;

¢ a number of pairs of cloth work-gloves;
0 a new set of De Walt pliers;

0 a lap-top computer;

¢ a computer hard-drive or tower; and

0 disinfectant wipes.

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23. Photographs of the red sedan depict that the windshield
is cracked in two locations on the passenger side, and that a white
powdery substance, believed to be baking soda, was in the sedan’s
trunk.

24.‘ Coleman was taken into custody and transported to the
Delaware State Police Troop Two barracks. Coleman was booked and
then placed into a holding cell. One of the troopers noted that
Coleman had a large bandage on the right side of his face. The
trooper asked Coleman, in substance, “That injury on your face,

does it need to be addressed?” Coleman responded, in substance,

“lt’s from the girl.”

10

 

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Conclusion

25. Based on the foregoing, 1 believe there is probable
cause to believe that, on or about February 24, 2019, in the
District of Massachusetts and elsewhere, Louis D. Coleman, 111
unlawfully seized, confined, inveigled, decoyed, kidnapped,
abducted, and carried away and held for ransom and reward and
otherwise a person, that is Jassy Correia, when said person was
willfully transported in interstate commerce, and when Louis D.
Coleman, 111, travelled in interstate commerce in committing and
in furtherance of the offense, resulting in the death of Jassy

Correia, all in violation of 18 U.S.C. § 1201(a)(1).

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